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15                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17 MELISSA PITKIN and DAN GROUT, on                  Case No. 3:23-cv-00924-WHO
     behalf of themselves and all others similarly
18 situated,                                         PLAINTIFFS’ OPPOSITION TO
                                                     DEFENDANT’S ADMINISTRATIVE
19                                                   MOTION TO STRIKE
                    Plaintiffs,
20                                                   Judge: Hon. William H. Orrick
            v.                                       Courtroom: 2 – 17th Floor
21
     STATE FARM GENERAL INSURANCE
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     COMPANY, an Illinois Corporation,
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                    Defendants.
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                                                                    Case No. 3:23-cv-00924-WHO
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiffs Melissa Pitkin and Dan Grout

 2 (“Plaintiffs”), hereby submit this opposition to Defendant State Farm General Insurance Company’s
 3 (“Defendant” or “State Farm”) administrative motion and motion to strike. ECF 89, 90.
 4 I.       Introduction

 5          State Farm’s administrative motion to strike Plaintiffs’ rebuttal expert reports is based on a

 6 fundamental mischaracterization of both the function of rebuttal evidence and the procedural posture
 7 of this case. The rebuttal reports submitted with Plaintiffs’ Reply directly respond to arguments
 8 raised for the first time in Defendant’s opposition to class certification—specifically, that Plaintiffs’
 9 experts overlooked the “Ramyead datasets.” ECF 76, p. 12-18. Defendant’s argument that these
10 rebuttal reports constitute impermissible new evidence is inconsistent with Ninth Circuit law on
11 class certification, and the motion should be denied. Defendant’s additional request to strike
12 Plaintiffs’ opposition to its separately filed Request for Judicial Notice is likewise unfounded.
13 II.      Rebuttal Reports are Permitted to Respond to Defendant’s Opposition

14          Courts in this District have recognized that rebuttal evidence is proper when it serves to

15 explain, repel, counteract or disprove arguments raised by the adverse party in opposition. Stiner v.
16 Brookdale Senior Living, Inc., 665 F. Supp. 3d 1150, 1179 (N.D. Cal. 2023). Indeed, the Ninth
17 Circuit has stated that courts should “license greater evidentiary freedom at the class certification
18 stage.” Sali v. Corona Reg’l Med. Ctr., 909 F.3d 996, 1006 (9th Cir. 2018) (explaining that district
19 court should have considered certain declarations for class certification instead of leaning “on
20 evidentiary formalism in striking those declarations as ‘new evidence’ submitted in reply”).
21          Here, Defendant’s opposition to class certification argued that Plaintiffs’ expert reports were

22 inadmissible because the experts failed to analyze the Ramyead datasets, which State Farm claimed
23 were material. ECF 76, p. 24-27. Plaintiffs’ expert rebuttal declarations respond directly to this
24 point by showing that (1) the data was considered once identified, and (2) the experts’ conclusions
25 remain unchanged even in light of that data. ECF 86, p. 7:19-27, 19:8-10, 20:9-11. This is
26 permissible rebuttal evidence. Stiner, supra, 665 F. Supp. 3d at 1179 (court considered reply
27 declarations that directly respond to the argument that defendants made in their opposition); see also
28 Sali, supra, 909 F.3d at 1006.
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 1          State Farm also strenuously argues that the rebuttal reports must be stricken simply because

 2 the Ramyead datasets had been previously produced and could have been addressed in the opening
 3 expert reports. But courts have explicitly rejected any bright-line rule that new data cannot be used
 4 in rebuttal merely because it was available earlier. See Leadership Studies, Inc. v. Blanchard
 5 Training & Dev., Inc., 2018 WL 1989554, at *9 (S.D. Cal. Apr. 27, 2018) (“There is no bright line
 6 rule requiring automatic exclusion of a rebuttal report that contains information that could have been
 7 included in an initial expert report.”). What matters is whether the rebuttal report addresses the
 8 same subject matter and directly responds to the opposing party’s evidence or arguments. See also
 9 FRCP 26(a)(2)(D)(ii) (expert rebut evidence allowed).
10          Plaintiffs’ Reply reports do precisely that: they rebut the argument made by State Farm that

11 failure to consider the Ramyead datasets undermines the expert conclusions. ECF 76, p. 13:25-26,
12 14:1-7. It is, therefore, entirely appropriate—and necessary—for Plaintiffs to respond to these
13 arguments, which includes engaging with the Ramyead datasets that State Farm put at issue.
14 Further, the inclusion of the Ramyead datasets in the rebuttal reports did not change nor “widen”
15 the scope of Plaintiffs’ experts’ prior opinions. As explained in Plaintiffs’ Reply, Mr. Regan
16 reviewed the Ramyead data and confirmed the validity of his damages model. ECF 86, p. 12:1-7.
17 Mr. Melzer used the data to confirm that the class is ascertainable using State Farm’s own records.
18 Id. at 20:9-20. Mr. Peterson reaffirmed his opinions regarding uniform depreciation practices. Id.
19 at 7:19-22. These are not new opinions; Plaintiffs’ experts simply respond to State Farm’s
20 arguments by confirming that the Ramyead data supports their initial opinions. And State Farm
21 cites no specific opinion, methodology, or theory that departs from the original subject matter.
22 Striking the reply declarations would, therefore, be improper. See Stiner, supra, 665 F. Supp. 3d at
23 1179 (“the Court also considered Dr. Kennedy’s reply declaration [in whole] which refuted
24 Defendants’ proposed damages model as inapposite, . . . and restated opinions that Dr. Kennedy
25 provided in his initial declaration.”); cf. Sali, supra, 909 F.3d at 1006.
26          Even if the rebuttal reports were deemed “new,” courts may consider such evidence where

27 the opposing party has had a fair opportunity to respond with an objection. See Cisco Sys., Inc. v.
28 Dexon Computer, Inc., 2023 WL 6466384, at *4 (N.D. Cal. Oct. 3, 2023) (permitting reply
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 1 declaration where it responded to opposition and the non-movant had “the opportunity to respond,
 2 in the form of its objection”). Here, State Farm has had an opportunity to object and has made both
 3 legal and factual arguments. ECF 89. Moreover, expert discovery remains open, and State Farm
 4 may explore these issues in ongoing expert discovery. ECF 54 & 55 (expert disclosure deadline
 5 (6/12/25), expert rebuttal (7/12/25) and expert discovery cutoff (8/21/25)). State Farm insists that a
 6 sur-reply “would not redress this harm” but offers no explanation as to why or how the present
 7 expert discovery schedule is insufficient. Thus, Plaintiffs’ Reply evidence was legally and
 8 procedurally proper; therefore, State Farm’s motion to strike should be denied.
 9          This case stands in stark contrast to those cited by State Farm, such as Martinez, which

10 involved a supplemental expert report submitted after the close of expert discovery. See, e.g.,
11 Martinez v. Costco Wholesale, 336 F.R.D. 183, 186 (S.D. Cal. 2020).
12 III.     Plaintiffs’ Objections to the RJN Evidence Was Proper and Fair

13          State Farm also asks the Court to strike Plaintiffs’ opposition to its separately filed Request

14 for Judicial Notice (“RJN”), arguing that Local Rules prohibit objections outside the reply. See ECF
15 89, 90. The Court should nevertheless consider Plaintiffs’ objections for several reasons.
16          First, State Farm itself filed the RJN as a standalone document, and Plaintiffs were entitled

17 to respond in kind. As the court explained in DoorDash, Inc. v. City & Cnty. of San Francisco,
18 “[t]he City’s request for judicial notice was separately filed from its motion to dismiss and so the
19 Plaintiffs may also separately file its opposition to the request for judicial notice.” 2022 WL 867254,
20 at *4 (N.D. Cal. Mar. 23, 2022). The same principle applies here. Having elected to file its RJN in
21 addition to its 35-page opposition, with 81 pages of supporting exhibits, Plaintiffs should be
22 permitted to respond in kind.
23          Second, even if the Court were to strike Plaintiffs’ opposition to the RJN, the Court should

24 consider Plaintiffs’ objections to the Ramyead evidence as they were also made in Plaintiffs’ Reply.
25 ECF 86 at 8. Specifically, Plaintiffs objected to the Ramyead case because the Court of Appeal
26 affirmed the dismissal of the Ramyead claims on statute of limitations grounds only, without
27 addressing California Insurance Code § 2051, the central issue here. Id. Additionally, the Court of
28 Appeal explicitly designated its ruling as unpublished; thus, considering evidence from that case is
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1 inappropriate. Id.; see also Smahi v. STMicroelectronics, Inc., 2025 WL 965774, at *3 (N.D. Cal.
2 Mar. 31, 2025) (Smahi also raised the crux of those objections in his opposition brief, such that they
3 are therefore properly before the Court), citing PNY Techs., Inc. v. SanDisk Corp., 2014 WL
4 1677521, at *2 n .4 (N.D. Cal. Apr. 25, 2014). Finally, Plaintiffs’ opposition was limited to the
5 applicability of a request for judicial notice—it did not extend to any reply argument.
6 IV.      Conclusion

7          For these reasons, the motions should be denied.

8
                                                         Respectfully submitted,
9 Dated:June 9, 2025                                     COTCHETT, PITRE & McCARTHY, LLP
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